                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                No. 5:19-cv-00475-BO

Jason Williams,

                       Plaintiff,

       v.                                                             Order

AT&T Mobility, LLC,

                       Defendant.


       The court held a hearing to resolve issues from Plaintiff Jason Williams’s motion to

compel documents from Defendant AT&T Mobility (D.E. 56) on March 16, 2021. Following the

hearing, the court grants the motion in part and orders as follows:

   •   AT&T must search the PMKs’ emails using the following search terms:

            o The search terms proposed by AT&T in the email at Docket Entry 58-9 at 21;

            o The search terms AT&T agreed to run in the email at Docket Entry 58-9 at 2; and

            o 10 additional search terms selected by Williams from the list of proposed terms in

                the January 22, 2021 email found at Docket Entry 58-9 at 5–6. Williams must

                notify AT&T of his chosen terms within 2 days of the court entering this order.

   •   AT&T shall produce documents all non-privileged responsive documents generated from

       searches no later than 30 days from the date Williams provides his additional search

       terms.

   •   After production of the records, the parties must meet and confer on whether additional

       search terms are necessary and proportional.




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   •   If, after meeting and conferring, the parties are unable to resolve disputes over the

       searches required above or the propriety of further searches, they should contact Judge

       Numbers’s case manager to arrange for a hearing.

   •   The parties shall bear their own costs.

Dated:
Dated: April 1, 2021
                                             ROBERT T. NUMBERS, II
                                             ______________________________________
                                             UNITED STATES MAGISTRATE JUDGE
                                             Robert T. Numbers, II
                                             United States Magistrate Judge




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